Case 2:15-cv-04704-DDP-RAO Document 11 Filed 08/27/15 Page 1 of 4 Page ID #:29



  1 TRINETTE G. KENT (State Bar No. 222020)
  2 10645 North Tatum Blvd., Suite 200-192
    Phoenix, AZ 85028
  3 Telephone: (480) 247-9644
  4 Facsimile: (480) 717-4781
    E-mail: tkent@lemberglaw.com
  5
  6 Of Counsel to
    Lemberg Law, LLC
  7 A Connecticut Law Firm
  8 1100 Summer Street
    Stamford, CT 06905
  9 Telephone: (203) 653-2250
 10 Facsimile: (203) 653-3424
 11 Attorneys for Plaintiff,
 12 Kimberly Alegria
 13
                               UNITED STATES DISTRICT COURT
 14
                              CENTRAL DISTRICT OF CALIFORNIA
 15
                                    WESTERN DIVISION
 16
 17 Kimberly Alegria,                         Case No.: 2:15-cv-04704-DDP-RAO
 18
                  Plaintiff,                  NOTICE OF SETTLEMENT
 19
 20      vs.

 21 JW, Inc,
 22
                       Defendant.
 23
 24
 25
 26
 27
 28
      2:15-cv-04704-DDP-RAO                                     NOTICE OF SETTLEMENT
Case 2:15-cv-04704-DDP-RAO Document 11 Filed 08/27/15 Page 2 of 4 Page ID #:30



  1                              NOTICE OF SETTLEMENT
  2
             NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
  3
  4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
  5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
  6
    Civ. P. 41(a) within 30 days.
  7
  8       The parties hereby further request that this honorable Court provide a period of

  9 60 days within which to complete the settlement and file a dismissal of the action.
 10
 11
 12                                             By: /s/ Trinette G. Kent
                                                Trinette G. Kent, Esq.
 13                                             Lemberg Law, LLC
 14                                             Attorney for Plaintiff, Kimberly Alegria
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                2
      2:15-cv-04704-DDP-RAO                                            NOTICE OF SETTLEMENT
Case 2:15-cv-04704-DDP-RAO Document 11 Filed 08/27/15 Page 3 of 4 Page ID #:31



  1                                  CERTIFICATE OF SERVICE
  2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
  3
  4 not a party to the above-entitled cause. On August 27, 2015, I served a true copy of
  5 foregoing document(s): NOTICE OF SETTLEMENT.
  6
  7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants JW, Inc.
  8 certify that on August 27, 2015, a copy of
    the foregoing document was filed
  9 electronically. Notice of this filing will be
 10 sent by operation of the Court's electronic
    filing system to all parties indicated on
 11 the electronic filing receipt. All other
 12 parties will be served by regular U.S.
    Mail. Parties may access this filing
 13 through the Court's electronic filing
 14 system.
 15
 16
             I am readily familiar with the firm's practice of collection and processing
 17
 18 correspondence for mailing. Under that practice it would be deposited with the U.S.
 19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
 20
    course of business. I am aware that on motion of the party served, service is presumed
 21
 22 invalid if postal cancellation date or postage meter date is more than one day after the
 23 date of deposit for mailing in affidavit.
 24
          I hereby certify that I am employed in the office of a member of the Bar of this
 25
 26 Court at whose direction the service was made.
 27
             Executed on August 27, 2015.
 28
                                                  3
      2:15-cv-04704-DDP-RAO                                              NOTICE OF SETTLEMENT
Case 2:15-cv-04704-DDP-RAO Document 11 Filed 08/27/15 Page 4 of 4 Page ID #:32



  1
  2                                        By: /s/ Trinette G. Kent
                                           Trinette G. Kent, Esq.
  3                                        Lemberg Law, LLC
  4                                        Attorney for Plaintiff, Kimberly Alegria

  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                           4
      2:15-cv-04704-DDP-RAO                                      NOTICE OF SETTLEMENT
